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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                         Case No. 19-22908-Civ-COOKE/GOODMAN
  QUEENS HOSPITALITY CORP.,
  a Florida corporation,
         Plaintiff,
  vs.
  BREAKFAST BITCH, LLC, a
  California limited liability company
         Defendant.
                                             /
   PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS AND FOR
        COSTS AND MEMORANDUM OF LAW IN SUPPORT THEREOF

  I. MOTION TO DISMISS STANDARD UNDER RULE 12(b)(6)
         A Motion to Dismiss filed pursuant to Rule 12(b)(6) can be granted only if it appears
  beyond a doubt that the plaintiff can prove no set of facts in support of its claim which would
  entitle it to relief. Conley v. Gibson, 335 U.S. 41, 48 (1957) (emphasis added); see also Fed.
  R. Civ. P. 12(b)(6); Bell Atlantic Corp v. Twombly, 550 U.S. 540, 570 (2007), see also Fed. R.
  Civ. P. 12(b)(6). A motion under Rule 12(b)(6) merely tests the legal sufficiency of a
  complaint, requiring a court to construe the complaint liberally, assume all facts as true, and
  draw all reasonable inferences in favor of the plaintiff. Twombly, 550 U.S. at 556-57.
         Although Plaintiff, Queens Hospitality Corp. in fact, has standing to bring this cause
  of action, the Defendant, in its Motion to Dismiss raised an issue that the Plaintiff seeks to
  clarify and enforce through the filing of an amended complaint. While the Plaintiff is not the
  registered owner of the Trademarks, it has been granted a sole and exclusive power to enforce
  the Trademarks. All substantial rights are given under the licensing agreement and therefore
  refutes the Defendant’s argument regarding standing, these documents have already been
  turned over in discovery. However, in order to more effectively state its claim, Plaintiff is
  seeking leave of court to amend its complaint to include additional parties and incorporate
  into the complaint a copy of the licensing agreement that gives Queens Hospitality Corp.
  standing to enforce its trademarks. See Vaupel Textilmaschinen KG v. Meccanica Euro Italia
  S.p.A., 944 F.2d 870, 20 ([the Court] accorded standing, in certain limited circumstances,


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  where all substantial rights under the patent have been transferred in the form of an exclusive
  license, rendering the licensee the virtual assignee.)
  II. THE CLAIM SHOULD NOT BE DISMISSED UNDER 12(B)(6) FOR LACK OF
  PERSONAL JURISDICTION BECAUSE QUEENS HAS ALLEGED THE
  NECESSARY ELEMENTS TO HAIL BB LLC INTO A FLORIDA COURT.

         The Plaintiff at this juncture need only make prima facie showing that this court has
  personal jurisdiction over the Defendant. It is undisputed that the Florida long arm statute
  has been sufficiently proven due to the tortious act being committed in Florida and the
  trademark owner residing in Florida. However, the Defendant argues that there are
  insufficient contacts to be haled into court in Florida.
         A. IT IS PREMATURE TO ASSUME THAT BREAKFAST BITCH, LLC HAS
  INSUFFICIENT CONTACTS IN LIGHT OF THE FACT THAT IT HAS ONLY JUST
  BEGUN       SELLING        ITS   PRODUCTS              AND   SERVICES      IN    COMMERCE;
  MOREOVER, DEFENDANT’S SOCIAL MEDIA AND WEBSITE PRESENCE
  REACH AND ADVERTISE TO CONSUMERS IN FLORIDA.
         In Croft v. Lewis No. 809-CV-1370-T-27AEP, 2010 WL 1707426, at *5 (M.D. Fla
  Apr. 1, 2010), over a three-year period the defendant sold $183.85 of the allegedly infringing
  product and $1,548.15 of other products into Florida. The Croft court held that defendant’s
  website was more than merely available to Florida residents because defendant “knowingly
  and repeatedly engaged in business transactions with Florida resident through her website
  over the course of three years.” The Defendant in this case has an interactive website which
  has the ability to ship its products to Florida.
         In Louis Vuitton, S.A. v. Mosseri, 736 F.3d 1339 (11th Cir. 2013), the Court found that
  there was sufficient contact where the defendant had an interactive website and received and
  shipped orders to Florida.
         At the moment, because discovery has just begun, Plaintiff has insufficient information
  to determine the exact amount sold through Defendant’s online merchandise sales and
  whether that alone constitutes sufficient contacts. That said, it is indisputable that Defendant’s
  website and social media accounts reach Florida consumers and that there has been actual
  consumer confusion in the State of Florida. Moreover, it is highly likely that in a span of three
  years at least $183.85 will be sold via Defendant’s website to residents of Florida.



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         Additionally, it seems contrary to the goals of the judicial system to wait until the
  damages increase, when, as in the present instance, there is already well-documented
  consumer confusion. At this juncture the dollar amount of sales may not constitute minimum
  contacts however, there is evidence that Defendant and its principals visited Florida for the
  purposes of studying, sampling and misappropriating Plaintiff’s business concept. Florida
  Courts should seek to protect appropriation of Florida businesses in other states. Defendant
  and Defendant’s principals should not be able to avoid being brought into court where the
  tortious acts occurred, simply because they left the State to reproduce the concept that Plaintiff
  alleges is being infringed upon.
         The Court in Louis Vuitton, the Court determines the following four factors should be
  considered when deciding if exercising jurisdiction over a Defendant comports with due
  process: (1) the burden on the defendant; (2) the forum’s interest in adjudicating the dispute
  (3) Plaintiff’s interest in obtaining convenient and effective relief; and (4) the judicial system’s
  interest in resolving the dispute.
         In the present case, the burden on the Defendant is nominal, if any at all. The
  Defendant has already hired counsel in Florida and has been granted permission by the Court
  to have their California counsel appear pro hac vice. The majority of the pleadings in this case
  are filed electronically and therefore the burden, if any at all, is further reduced. Furthermore,
  the Defendants have shown no evidence that finances or any other limitation would preclude
  them from being unable to defend this action in Florida.
         Second, this Court should have a heightened interest in adjudicating this dispute in
  light of the fact that Florida courts seek to protect both their consumers as well as their
  business owners. The case at hand harms both business owners and Florida consumers.
  Plaintiff who is domiciled and operates its headquarters owns several businesses in Florida
  and has an exclusive license to use and enforce the intellectual property which is the subject
  of this action. Florida law contemplates within its long arm statute that the Court has
  jurisdiction under the long arm statute where the trademark owner resides. See Panavision
  Intl’, L.P. v. Toeppen, 141 F.3d 1316, 1322 n. 2 (9th Cir. 1998)). Given this specific mention
  that Florida Courts have made for intellectual property as sufficient injury to be haled into
  Court in Florida, it is reasonable to infer that the Florida Courts have an interest in protecting
  Plaintiffs from injury resulting from others appropriating their intellectual property.


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         Third, the Plaintiff has already retained local counsel, and does not have counsel in
  any other state for this matter. It is convenient and effective considering that the case has
  progressed past the initial pleadings with discovery being well underway, it is most efficient
  for all parties involved to continue the case in the present forum. Finally, this Court has an
  interest in resolving this dispute, given its duty to protect Florida consumers and Florida
  business owners.
         B. BB, LLC HAS WAIVED ALL ISSUES RELATED TO PERSONAL
  JURISDICTION BY ITS ACTIONS IN THE PRESENT CASE.
         “The requirement that a court have personal jurisdiction is a due process right that
  may be waived either explicitly or implicitly. ‘The actions of the defendant may amount to a
  legal submission to the jurisdiction of the court, whether voluntary or not.’” Transaero, Inc.
  v. La Fuerza Aerea Boliviana, 162 F.3d 724, 729 (2d Cir.1998) (quoting Bauxites, 456 U.S. at
  703–05, 102 S.Ct. 2099); accord McBee v. Delica Co., Ltd., 417 F.3d 107, 127 (1st Cir. 2005)
  (“Unlike subject matter jurisdiction under Article III, which goes to the fundamental
  institutional competence of the court and can be raised sua sponte at any time, personal
  jurisdiction is an individual liberty right and is therefore waivable ....”) (citing Bauxites, 456
  U.S. at 702–05, 102 S.Ct. 2099).
         The Defendant has availed itself to the jurisdiction of this Court through several
  actions. First, it has filed responsive pleadings that argue more than issues of venue and
  jurisdiction. Second, it has participated in discovery, requesting both production of
  documents and interrogatories, it has engaged in various conversations regarding
  confidentiality of certain documents, production disputes and more.            Defendants have
  retained local counsel and requested that their California-based attorney appear pro hac vice,
  which was granted by this Court. In Defendant’s motion to appear it did not specify that
  counsel’s appearance would be for the sole purpose of arguing venue or jurisdiction, rather
  Defendant’s counsel filed a general notice of appearance and thus, Defendant has consented
  to jurisdiction here.
         Third, when this Court temporarily dismissed this action and the Plaintiff filed its
  Complaint, Plaintiff’s counsel inquired as to whether Defendant’s counsel needed an
  extension to prepare and file the case management report. Defendants’ counsel was adamant




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  that the case should move forward and that the joint report should be filed on time. The joint
  report covers issues far beyond solely jurisdiction and venue.
         Finally, both local and pro hac vice counsel have filed substantive motions and engaged
  in ongoing conversations regarding issues which are far more complex than venue and
  jurisdiction alone and have made no arguments regarding financial resources or additional
  burden due to the case being brought in a Florida court.
         By continuing to fully participate in the case the Defendant has waived any personal
  jurisdiction argument. Moreover, the burden to travel to Florida is not sufficiently compelling
  to outweigh Plaintiff’s interest in having a Florida courts adjudicate this dispute.
  III. VENUE IS PROPER PURSUANT TO 28 U.S.C. § 1391(b)(2).
         Pursuant to 28 U.S.C. § 1391(b)(2), because the events giving rise to the claim occurred
  in Florida when Defendant came to Florida to take Plaintiff’s intellectual property and
  because Defendant continues to sell merchandise and advertise to clients in all states,
  including Florida, venue in this Court is therefore, proper. The Defendant argues that venue
  is improper because it is a single restaurant with operations in San Diego, California.
  However, Defendant has an interactive website that sells merchandise online throughout the
  United States and appropriated the intellectual property of a Florida business.
  IV. DEFENSE IS NOT ENTITLED TO ANY RELIEF PURSUANT TO 41(d).
         Fed. R. Civ. P. 41(d) states that “[i]f a plaintiff who previously dismissed an action in
  any court filed an action based on or including the same claim against the same defendant:
  the court may order the plaintiff to pay all or part of the cost of that previous action; and may
  stay the proceedings until plaintiff has complied.” The Defendant is not entitled to costs
  pursuant to Rule 41(d) since this action was not dismissed by the Plaintiff, there has only been
  one continuous case. The Defendant also cannot meet its burden to show that it is entitled to
  costs, in addition to the above stated arguments that show why relief under Rule 41(d) is
  improper, the Court and Defendant have not endured any additional time, costs or expenses.
         A. THIS ACTION WAS NOT DISMISSED BY PLAINTIFF
         Plaintiff in this case did not dismiss its cause of action and later attempt to file a new
  action based on a similar claim. In this case the Court, not the Plaintiff dismissed the action,
  and only temporarily (DE 17). Plaintiff in this case withdrew its initial pleading and
  specifically requested a short window to file its complaint. At no point did it have any


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  intention to dismiss the action or close and start a new action in a different venue as is typically
  the case where Rule 41(d) applies. The Court granted the withdrawal and, because
  temporarily there were no pleadings in the case, the Court sua sponte dismissed the action
  without prejudice and in the same order allowed Plaintiff to file its complaint. Plaintiff did
  file the complaint within the allotted time frame per the order on September 6, 2019, where
  this Court sua sponte re-opened the case. This is not a new action, and the Plaintiff did not
  dismiss the action. There has been no change in forum, the same case number, the same
  Judge, ongoing discovery and compliance with the Court’s orders from the inception of the
  case.
          B. THERE HAS ONLY BEEN ONE CONTINUOUS CASE
          The Court, the presiding Judge, and the case number in this action have not changed.
  While the Court dismissed Plaintiff’s initial Motion for Injunction, it granted Plaintiff leave
  to file what the Court referred to as an “Amended Complaint”, therefore acknowledging that
  the Plaintiff’s filing of its initial complaint was a continuation of the action, rather than the
  commencement of a new cause of action. When Plaintiff filed its initial complaint per the
  Court’s Order, the case was subsequently re-opened and continued with no burden to the
  Court. The same Order of Referral and Order Regarding Court Practices and Procedures
  applied, all the same deadlines were met pursuant to the initial Order with no delay.
          C. DEFENSE CANNOT MEET ITS BURDEN TO SHOW IT IS ENTITLED TO
  COSTS.
          A party moving for costs under Rule 41(d) must show: (1) the plaintiff dismissed a
  previous action; (2) the plaintiff then commenced a second action that is based upon or
  includes the same claim against the same defendant; and (3) the defendant incurred costs in
  the prior action that will not be useful in the newly-filed litigation. NF Imp. & Exp., Inc. v.
  VIA Mat Int'l AG, No. 11-23371-CIV, 2012 WL 13013078, at *2 (S.D. Fla. Aug. 3, 2012)
  (citing Groom v. Bank of America, 2012 WL 627564 at *5 (M.D. Fla. Feb. 23, 2010)).
          First, as previously stated there was no dismissal by the Plaintiff. In this case the Court
  sua sponte temporarily dismissed this action without prejudice and then subsequently reopened
  the same action once the new pleading was filed.
          Second a new action was not commenced, and finally the only document the Defense
  filed that is currently not being used in the action is the initial Motion to Dismiss the


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  injunction, however many of the same arguments in the initial Motion to Dismiss were
  presented in the current Motion to Dismiss that is pending.          Moreover, many of the
  arguments, research, and work performed at the commencement of the action is still
  applicable to nearly all of the issues in the case. Therefore, no substantive amount of time was
  spent by the Defendant that is not useful in this action. Finally, the Court contemplates costs
  when it refers to prejudice in regard to this Rule 41(d). Attorney’s fees should not be
  considered costs for this rule. The defense incurred no costs during the time period of the
  withdrawal of the injunction and filing of the complaint. Furthermore, an award of attorneys’
  fees would not be necessary to deter vexatious and repetitive litigation which is the spirit of
  Rule 41(d). While some Southern District courts award attorney’s fees as part of costs when
  necessary to deter vexatious and repetitive litigation and where the plaintiff has refiled the
  previously dismissed suit in bad faith. Shaker Village Condo. Assoc., Inc., v. Certain
  Underwriters at Lloyd’s, 2009 WL 2835185 (S.D. Fla. 2009). Because the Plaintiff has not
  refiled the previously dismissed suit and any withdrawals were not done in bad faith,
  therefore, an award here would not be proper. Here, no bad faith exists, nor is the litigation
  vexatious or repetitive.
  V. CONCLUSION
         For the reasons set forth above, Plaintiff respectfully requests that this Court deny the
  Defendant’s Motion to Dismiss.
  Dated: October 4, 2019
         Miami-Dade, Florida
                                                             Respectfully submitted,
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                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on October 4, 2019, I electronically filed the foregoing
  with the Clerk of the Southern District Court using its CM/ECF system, which would then
  electronically notify the following CM/ECF participants on this case:


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